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 5 Advisory Attorney for Defendant
   MICHAEL ROTHENBERG
 6
                            UNITED STATES DISTRICT COURT
 7
                         NORTHERN DISTRICT OF CALIFORNIA
 8
                                     OAKLAND DIVISION
 9
10 UNITED STATES OF AMERICA,              ) Case No. 4:20-cr-00266-JST
                                          )
11                        Plaintiff,      )
                                          ) STATUS REPORT REGARDING
12  v.                                    ) ADVISORY COUNSEL’S
                                          ) ADVISEMENT OF MICHAEL
13  MICHAEL    ROTHENBERG,                ) ROTHENBERG
                                          )
14                       Defendant.       )
                                          )
15                                        ) Honorable Judge Jon S. Tigar

16            On March 6, 2024, this Court appointed undersigned counsel to represent Michael
17 Rothenberg “solely for the limited purpose of reviewing the facts of the case and advising Mr.
18 Rothenberg regarding the potential for a claim of ineffective assistance of counsel.” Doc
19 #379.
20            Undersigned counsel has reviewed relevant case materials, researched various issues,
21 communicated with counsel, the assigned Assistant United States Attorneys, experts, and
22 witnesses. Counsel has also communicated with Mr. Rothenberg on numerous occasions.
23            After conducting the above tasks, counsel believes that the Court and the parties might
24 benefit by holding a status conference, at the Court’s convenience, to address this matter.
25 Dated: October 25, 2024                             Respectfully submitted,
26                                                     /s/ James S. Thomson
                                                       ___________________
27                                                     JAMES S. THOMSON
28                                                     Advisory Attorney for Defendant
                                                       MICHAEL ROTHENBERG
     Status Report
